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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

LITTLE ROCK DIVISION
ROBERT DAVIS PLAINTIFF
vs. NO.: 4-07-CV-00521-BSM
UNION PACIFIC RAILROAD COMPANY DEFENDANT

UNION PACIFIC’S RESPONSE TO PLAINTIFF’S MOTION TO COMPEL
This brief is in response to Plaintiff's Motion to Compel. Union Pacific addresses each

alleged discovery dispute in the order Plaintiff listed them in his brief.

A. Plaintiff's First Set of Interrogatories

19. Identify all employees who have reported injury as a result,
in whole or part, of walking on ballast, date of incident and
location and type and size of ballast involved for the period of
1990 to present.

ANSWER: Defendant objects to this Interrogatory because it is
vague, overbroad, unduly burdensome, irrelevant in that it is not
limited to the relevant geographic location, or matters substantially
similar to Plaintiff's allegations, and it seeks information not
reasonably calculated to lead to the discovery of admissible
evidence. Furthermore, Defendant objects to the extent this
Interrogatory seeks disclosure of information regarding complaints
of personal injury, as this would constitute an invasion of the
privacy rights of employees who are not parties to this action
and/or may violate HIPAA regulations. Notwithstanding and
without waiving these objections, please see Defendant’s Answer
to Interrogatory No. 12.

Reason Plaintiff's Motion To Compel Should be Denied: In his motion to compel,
Plaintiff contends that UP should be required to provide a list of all “claims of traumatic injury
due to walking on ballast” from 1990 to present. Plaintiff argues that this request is not

overbroad or unduly burdensome because UP maintains a database that contains information
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related to employee injuries and that “ballast is ballast.”’ Although Plaintiff is correct that UP
has a database that stores information related to reported injuries and that ballast is used
throughout its system, he is incorrect in stating that the information he seeks is discoverable for
several reasons.

First, Plaintiff's request for more than 17 years of information is overbroad and should be
substantially reduced.” Plaintiff cited Nuckles v. Wal-Mart Stores, Inc., 2007 WL 1546092, at *2
(E.D. Ark. 2007), in his brief in support of his motion to compel. In that case, the court stated “‘it
is well established that a party's previous conduct is relevant and can be discovered. But, the
scope of discovery is usually limited to a reasonable number of years.” Jd. The court went on to
say that five years is a reasonable time frame for discovery. Plaintiff's request for 17 years is
unreasonable, and the Court should limit Plaintiff's request to five years before his alleged
incident.

Second, Plaintiff's request for information from the entire UP system is also overbroad.
UP operates thousands of miles of tracks in 23 states. Incidents that occur in other locations and
in other states are not relevant to an alleged incident at the Service Track in the North Little Rock
yard. When a plaintiff seeks information regarding an entire company, courts routinely limit
discovery requests to the specific location at issue. See, e.g., Case v. Platte County, No.
8:03CV160, 2004 WL 1944777, at *2 (D. Neb. June 11, 2004) (citing Carman v. McDonnell
Douglas Corp., 114 F.3d 790, 792 (8" Cir. 1997) (limiting discovery request for company-wide
records to the facility at issue)). Since there are many differences from one location on the

railroad to the next, such as terrain, lighting, and visibility, Plaintiff's request should be limited

 

’ Ballast is crushed rock that supports railroad tracks and provides drainage. Federal law requires its use. 49 C.F.R.
§ 213.103.

? Plaintiff's contention that UP did not object to the time period is wrong. UP objected to the amount of time
Plaintiff is requesting when it stated that the Interrogatory was overbroad. Such an objection clearly includes the
time frame.
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to the area where he contends he was injured, i.e. the Service Track at the North Little Rock
yard.

Third, Plaintiff is seeking reports of all ballast claims even though he is only claiming
that the ballast around the Service Track in the North Little Rock yard was too big. Accordingly,
a search for all ballast related incidents is too broad. His request would return irrelevant
incidents such as an employee walking down the track and getting struck in the eye with a piece
of ballast or an employee that slips on a piece of ballast on a flat car. Since his request is
overbroad, his request should be limited to incidents involving large rock or oversized ballast.

Finally, Plaintiff’s request invades the privacy rights of UP employees that are not parties
to this action. A UP rule requires all employees to report injuries of any kind. See attached
Exhibit A, Rule 1.1.3. Failure to report an injury is grounds for dismissal. See Exhibit B, Rule
1.2.5. The information from these reported injuries is stored in a database. The employees do
not have a choice on whether to have their information contained therein. Under such
circumstances, Plaintiff should be required to produce especially compelling evidence that a just
result cannot be obtained in this case without the disclosure of the identities of these third
persons. See, e.g., Kaufman v. Western Sugar Co-op, Inc., No. 7:06CV5017, 2007 WL 2509482,
at *4 (D. Neb. Aug. 29, 2007) (stating that courts are reluctant to permit discovery of information
that may intrude into the privacy interests of non-party employees absent a compelling showing
of relevance). Plaintiff has not done so. Plaintiff states that he seeks the requested information
in order to prove that the railroad had notice that large ballast creates a dangerous condition that
presents a foreseeable risk of injury. This evidentiary purpose may be achieved with no intrusion

whatsoever into the privacy of third parties. The only evidence necessary would be the fact that
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another incident occurred and where and when it took place. Accordingly, the identities of the
employees who reported the incidents are irrelevant and should be redacted.

21. Identify what type/size of ballast Defendant has had in the
N. Little Rock yard and service track since 1990, the date it was
installed/laid and all maintenance and inspections performed by
Defendant of the subject service track over this period.

ANSWER: Defendant objects to this Interrogatory because it is
overbroad, unduly burdensome, not limited to the relevant
geographic location, or matters relevant to this lawsuit (incidents
substantially similar to Plaintiff's allegations), it is not limited to a
reasonable amount of time, and it seeks information not reasonably
calculated to lead to the discovery of admissible evidence.
Notwithstanding and without waiving this objection, investigation
continues, and Defendant will supplement its response if it locates
information responsive to this Interrogatory.

SUPPLEMENTAL ANSWER: Notwithstanding and without
waiving the objection above, the area around the North Little Rock
Service Track underwent a major overhaul in 2005 and 2006.
Granite Mountain Quarry shipped 404 tons of ballast to Union
Pacific for the service track overhaul project. The ballast was
shipped by truck on October 11, 2005 and unloaded on October 17,
2005. The ballast was #2 Grade. In addition, please see
documents attached hereto and Union Pacific’s Specifications for
Main, Branch, and Yard Track Ballast, which was attached to
Defendant’s Responses to Plaintiff’s Requests for Production.

Reason _ Plaintiff's Motion To Compel Should be Denied: Like the previous
Interrogatory in dispute, this Interrogatory asks for more than 17 years worth of information.
This time frame is overbroad and unduly burdensome, especially considering that the area where
Plaintiff was allegedly injured underwent a major renovation less than two years before his
incident. Information about that project has already been produced. Additionally, information
regarding the entire North Little Rock yard is irrelevant. The North Little Rock yard
encompasses hundreds of acres, numerous shops, and miles of track. Plaintiff contends that he

was injured near the Service Track, which is a small area when compared to the entire North
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Little Rock yard. See Exhibit C (Track Profile of the North Little Rock yard. The circled area
designates the area around the service track). Since this request is overbroad and unduly
burdensome, and since UP agrees to supplement its answer to this Interrogatory with its track
inspection records for the five years before this incident, Plaintiff's motion to compel this
Interrogatory should be denied.

Plaintiff's First Set of Requests for Production
14. _—_— All records during the period 2004 to present reflecting
whether any of Defendant's employees advised Defendant, its
foremen or supervisors, of any safety concerns with respect to
walking on ballast or uneven surfaces.
RESPONSE: See Defendant’s Answer to Interrogatory No. 12.

Reason Plaintiff's Motion To Compel Should be Denied: Plaintiff failed to include
this request for production in his good faith letter to resolve discovery disputes prior to seeking
court intervention as required by Rule 37 of the Federal Rules of Civil Procedure. See Exhibit D.
Therefore, Plaintiff's motion to compel is improper at this stage and should be denied. Even if
Plaintiff had made a good faith effort, his motion should still be denied because this request is
overbroad as it seeks information regarding UP’s entire 23 state system. Plaintiff has alleged an
injury that occurred at a specific location and, therefore, walking conditions in other locations in
other states are irrelevant.

Furthermore, in response to Interrogatory No. 12, UP searched its records for complaints
regarding walking conditions in the North Little Rock yard for the requested time period and
informed Plaintiff that it had not located any reports about ballast claims for that area. Since this

search covered the area at issue, Plaintiff's motion to compel records for UP’s entire system

should be denied.
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16. All reports by employees who have reported injury as a
result, in whole or part, of walking on ballast, date of incident,
location and type and size of ballast involved, for the period of
1990-present, and all managers’ reports regarding same.

RESPONSE: Defendant objects to this Request because it is
overbroad, unduly burdensome, and not reasonably limited in
time. Furthermore, Defendant objects to the extent this
Interrogatory seeks disclosure of information regarding complaints
of personal injury, as this would constitute an invasion of the
privacy rights of employees who are not parties to this action
and/or may violate HIPAA regulations. In addition, please see
Defendant’s Answer to Interrogatory No. 19.

Reason _ Plaintiff's Motion To Compel Should be Denied: Plaintiff failed to include

this request for production in his good faith letter to resolve discovery disputes prior to seeking
court intervention as required by Rule 37 of the Federal Rules of Civil Procedure. See Exhibit D.
Therefore, Plaintiff's motion to compel is improper at this stage and should be denied. Even if
Plaintiff had made a good faith effort, his motion should still be denied for the same reasons as
discussed above under the reason to deny Plaintiff's motion to compel Interrogatory No. 19.

18. Provide all records of the type/size ballast Defendant has
had in the N. Little Rock yard and service track since 1990, the
date it was installed/laid, and all reports of maintenance and
inspections performed by Defendant for the period 1990 to the
present.

RESPONSE: Defendant objects to this Request because it is
overbroad, unduly burdensome, not limited to the relevant
geographic location, craft, or matters relevant to this lawsuit
(incidents substantially similar to Plaintiff's allegations), it is not
limited to a reasonable amount of time, and it seeks information
not reasonably calculated to lead to the discovery of admissible
evidence. Notwithstanding and without waiving this objection,
investigation continues, and Defendant will supplement its
response if it locates documents responsive to this Request.

Reason _Plaintiff’s Motion To Compel Should be Denied: Plaintiff failed to include

this request for production in his good faith letter to resolve discovery disputes prior to seeking
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court intervention as required by Rule 37 of the Federal Rules of Civil Procedure. See Exhibit D.
Therefore, Plaintiff's motion to compel is improper at this stage and should be denied. Even if
Plaintiff had made a good faith effort, his motion should still be denied for the same reasons as
discussed above under the reason to deny Plaintiff's motion to compel Interrogatory No. 21.
Conclusion
For the foregoing reasons, Plaintiff's Motion to Compel should be denied.
Respectfully submitted,

SCOTT H. TUCKER, #87176
KRISTOPHER B. KNOX, #2004071
FRIDAY, ELDREDGE & CLARK
400 W. Capitol Avenue, Suite 2000
Little Rock, Arkansas 72201
Telephone: (501) 376-2011

Fax: (501) 376-2147

tucker@fec.net

kknox@fec.net

Attorneys for Union Pacific Union
Pacific Railroad Company

/s/ Kristopher B. Knox
KRISTOPHER B. KNOX, #2004071
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CERTIFICATE OF SERVICE

I, Kristopher B. Knox, do hereby certify that on this 8" day of August, 2008, I
electronically filed the foregoing with the Clerk of Court using the CM/ECF System which will
send notification of such filing to the following:

Nelson G. Wolff

Julia Eades

Schlichter, Bogard & Denton
100 South 4" Street, Suite 900
St. Louis, MO 63102

Edward T. Oglesby

Oglesby Law Firm, P.A.

100 Morgan Keegan Drive, Suite 110
Little Rock, AR 72202

/s/ Kristopher B. Knox
KRISTOPHER B. KNOX, #2004071
FRIDAY, ELDREDGE & CLARK
400 W. Capitol Avenue, Suite 2000
Little Rock, Arkansas 72201
Telephone: (501) 376-2011

Fax: (501) 376-2147

kknox@fec.net
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SCHLICHTER, BOGARD & DENTON, LLP wn .
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Attorneys at Law

   

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NELSON G. WOLFF 100 SOUTH FOURTH STREET, SUITE 900 i Illino
ST. LOUIS, MISSOURI 63102 120 Wi MAIN STREET, SUITE 208
nwolff@uselaws.com (314) 621-6115 BELLEVILLE, ILLINOIS 62220
FAX (314) 621-7151 mw fGIB) 63279322 ee
www.uselaws.com Wisconsia Office
8554 HIGHWAY 51, SUITE 103
P.O. BOX 5
MINOCQUA, WISCONSIN 54548
December 26, 2007 (715) 358-6300

Kristopher B. Knox

Friday, Eldredge & Clark

400 W. Capitol Avenue, Ste 2000
Little Rock, AR 72201-3522

Re: Robert Davis v. Union Pacific Railroad Company
Dear Kris:
This acknowledges receipt of Defendant’s Responses to Plaintiff's discovery.
With regard to the Interrogatories, I note as follows:

#9 You note numerous rules, policies, manuals, bulletins,.and instructions which
you say you will make available to me at a mutually convenient time. I ask that
you produce such material at this time.

#11 You indicate that investigation continues. I ask that you supplement by January
12, 2008, which will allow an additional month from the date that you issued the
original Answers.

#12 Ido ask for disclosure of information regarding complaints of personal injury,
within the scope of the interrogatory. This type of information has been produced
in virtually every case that I can think of where I have requested it. I am not
asking for medical treatment records which could possibly come under HIPAA.
Personal Injury Reports and Manager’s Reports, however, are not subject to
HIPAA and I ask that you supplement the responsive information.

#18 Although you provided a signature page for Mr. Griffith, it was not signed and I
ask that you produce an executed copy.

#19 Although you referred to Answer to Interrogatory No. 12, there was no answer
given to that question. I’ll incorporate my comments above.

#21 You indicate investigation continues and I ask that you supplement. I believe the
scope is proper.

 
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SCHLICHTER, BOGARD & DENTON
Artrorneys at Law

Kristopher B. Knox
December 26, 2007
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#22 ask that you reconsider your objection and that you provide the answer since the
broad scope of discovery permits investigation into any matter which is
reasonably calculated to the discovery of admissible evidence. The loss of a
fringe benefit and the termination of employment relate to damages in this case
which were the resuit of the injury occurrence, according to our theory of the
case.

With respect to Request for Production #9, the AIRS Detail Report has been produced in
numerous other cases, contradicting your claim of federal privilege. I think you will find out that
this report is not actually produced to the FRA and typically it mirrors the Manager’s Report.
There is an Eighth Circuit case on point which I believe is Villa v. BNSF - I’m sure you can
locate the rest of the cite. I incorporate my responses to your Interrogatory Objections, stated
above, to the extent your Request for Production responses refer to your Interrogatory Answers.

I am assuming that answers made “subject to objection” are nonetheless complete and that no

‘ information is being withheld “subject to the objection.” However, if this is not true, please

' indicate which discovery items you are withholding information on so that we can bring it to the
Court’s attention if we are not able to resolve the dispute.

Thank you in advance for your willingness to reconsider the Objections. I will await your

response to this letter before filing a Motion to Compel so long as it is received in a timely
manner. As always, feel free to call me to discuss further.

Very truly yours,

Nelson G. Wolff

NGW:rem
